Case 2:19-cv-13429-PDB-DRG ECF No. 90 filed 08/10/20      PageID.3232   Page 1 of 29



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

                                         x
 GENERAL MOTORS LLC; GENERAL             :
 MOTORS CO.,                             :
                                         :
         Plaintiffs,                     :     No. 2:19-cv-13429
                                         :
                                               Honorable Paul D. Borman
 v.                                      :
                                         :     District Court Judge
 FCA US LLC; FIAT CHRYSLER               :
                                               Honorable David R. Grand
 AUTOMOBILES N.V.; ALPHONS               :
                                               Magistrate Judge
 IACOBELLI; JEROME DURDEN; MICHAEL       :
 BROWN,                                  :
                                         :
         Defendants.                     :
                                         x

       FCA DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION TO
                   ALTER OR AMEND JUDGMENT

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 August 10, 2020
Case 2:19-cv-13429-PDB-DRG ECF No. 90 filed 08/10/20                                  PageID.3233           Page 2 of 29




                                          TABLE OF CONTENTS

                                                                                                                    Page

 Preliminary Statement ........................................................................................... 1

 Argument ................................................................................................................ 6

 I.       The Court should deny GM’s request for reconsideration of this
          Court’s correct application of RICO’s direct causation standard ......... 7

          A.       Rehashing previously rejected arguments is not grounds for
                   altering or amending a judgment ......................................................... 8

          B.       This Court correctly applied the standard for pleading causation
                   under RICO ......................................................................................... 9

 II.      GM was not entitled to an advisory opinion from this Court as to
          how to overcome the numerous deficiencies in its Complaint .............. 12

 III.     GM’s alleged “new evidence” is wild conjecture and does nothing
          to cure the deficiencies the Court identified in dismissing the
          Complaint ................................................................................................... 14

          A.       GM’s “new evidence” is nothing but conclusory speculation .......... 14

          B.       GM’s “new evidence,” even if considered, would not “clearly”
                   lead to a “different result” ................................................................. 18

 Conclusion ............................................................................................................. 21
Case 2:19-cv-13429-PDB-DRG ECF No. 90 filed 08/10/20                              PageID.3234          Page 3 of 29




                                     TABLE OF AUTHORITIES

                                                                                                           Page(s)

 Cases
 16630 Southfield Ltd. P’ship v. Flagstar Bank, F.S.B.,
    727 F.3d 502 (6th Cir. 2013) .................................................................. 6, 16, 17

 Anza v. Ideal Steel Supply Corp.,
   547 U.S. 451 (2006) .................................................................................. passim

 Arnold v. Alphatec Spine, Inc.,
    2014 WL 2896838 (S.D. Ohio June 26, 2014) ........................................... 14, 15

 Bachi-Reffitt v. Reffitt,
   802 F. App’x 913 (6th Cir. 2020) ........................................................... 6, 19, 20

 Bledsoe v. Comm. Health Sys., Inc.,
    342 F.3d 634 (6th Cir. 2003) ...................................................................... 13, 14

 Bridge v. Phoenix Bond & Indem. Co.,
    553 U.S. 639 (2008) ............................................................................................ 8

 Bunn v. Navistar, Inc.,
   797 F. App’x 247 (6th Cir. 2020) ..................................................................... 13

 Carriuolo v. Gen. Motors Co.,
   823 F.3d 977 (11th Cir. 2016) ............................................................................ 3

 City of Cleveland v. Ameriquest Mortg. Sec., Inc.,
    615 F.3d 496 (6th Cir. 2010) ............................................................................ 11

 Clark v. United States,
    764 F.3d 653 (6th Cir. 2014) .............................................................................. 7

 Davis v. Prof’l Reps. Org.,
   666 F. App’x 433 (6th Cir. 2016) ........................................................... 5, 14, 18

 Empire Merchs., LLC v. Reliable Churchill LLLP,
   902 F.3d 132 (2d Cir. 2018) ......................................................................... 9, 18

 Empress Casino Joliet Corp. v. Johnston,
   763 F.3d. 723 (7th Cir. 2014) ............................................................................. 8

                                                         -ii-
Case 2:19-cv-13429-PDB-DRG ECF No. 90 filed 08/10/20                             PageID.3235         Page 4 of 29



 Energy Conversion Devices Liquidation Tr. v. Trina Solar Ltd.,
   833 F.3d 680 (6th Cir. 2016) ...................................................................... 13, 14

 Gen. Motors LLC v. FCA US LLC,
   2020 WL 3833058 (E.D. Mich. July 8, 2020) ............................................ 10, 19

 Graham v. Fearon,
   721 F. App’x 429 (6th Cir. 2018) ..................................................................... 12

 Hemi Grp., LLC v. City of N.Y.,
   559 U.S. 1 (2010) ...................................................................................... passim

 Hernandez v. City of Saginaw,
   2013 WL 4052632 (E.D. Mich. Aug. 12, 2013) ................................................. 7

 Higginbotham v. Baxter Int’l, Inc.,
    495 F.3d 753 (7th Cir. 2007) ............................................................................ 15

 Holmes v. Sec. Inv’r Prot. Corp.,
   503 U.S. 258 (1992) .......................................................................................... 19

 Jones v. Nat. Essentials, Inc.,
    740 F. App’x 489 (6th Cir. 2018) ....................................................................... 8

 Leisure Caviar, LLC v. U.S. Fish & Wildlife Serv.,
    616 F.3d 612 (6th Cir. 2010) ...................................................................... 4, 6, 7

 Letvin v. Lew,
    2014 WL 3865007 (E.D. Mich. Aug. 6, 2014) ............................................... 4, 8

 Mich. Flyer LLC v. Wayne Cty. Airport Auth.,
   860 F.3d 425 (6th Cir. 2017) ........................................................................ 4, 13

 Perry v. Am. Tobacco Co.,
    324 F.3d 845 (6th Cir. 2003) ...................................................................... 11, 18

 Raub v. Moon Lake Prop. Owners’ Ass’n,
   2018 WL 10127704 (E.D. Mich. Jan. 3, 2018) .............................................. 8, 9

 Stuart v. Lowe’s Home Centers, LLC,
    737 F. App’x 278 (6th Cir. 2018) ............................................................... 17, 18




                                                       -iii-
Case 2:19-cv-13429-PDB-DRG ECF No. 90 filed 08/10/20                                 PageID.3236          Page 5 of 29



 Total Benefits Planning Agency, Inc. v. Anthem Blue
    Cross & Blue Shield,
    552 F.3d 430 (6th Cir. 2008) ............................................................................ 13

 United States v. Burris,
   912 F.3d 386 (6th Cir. 2019) (en banc) ............................................................ 11

 Vemco, Inc. v. Camardella,
   23 F.3d 129 (6th Cir. 1994) .............................................................................. 20

 Wallace v. Midwest Fin. & Mortg. Servs., Inc.,
   714 F.3d 414 (6th Cir. 2013) .................................................................... passim

 Winget v. JP Morgan Chase Bank, N.A.,
   537 F.3d 565 (6th Cir. 2008) .............................................................................. 5

 Wood v. Gen. Motors Corp.,
   2015 WL 1396437 (E.D.N.Y. Mar. 25, 2015) .................................................. 20

 Rules
 Fed. R. Civ. P. 11 ................................................................................................... 20

 Fed. R. Civ. P. 12(b)(6) .................................................................................... 14, 17

 Fed. R. Civ. P. 15 ............................................................................................... 4, 12

 Fed. R. Civ. P. 59 ........................................................................................... passim




                                                          -iv-
Case 2:19-cv-13429-PDB-DRG ECF No. 90 filed 08/10/20      PageID.3237    Page 6 of 29




                     STATEMENT OF ISSUE PRESENTED

       Should this Court alter or amend the judgment dismissing GM’s Complaint

 with prejudice to permit GM to file its proposed Amended Complaint, where GM

 merely (i) repeats the already rejected argument that the Court applied an unduly

 “strict” standard for pleading causation under the Racketeer Influenced and Corrupt

 Organizations Act (“RICO”), (ii) misrepresents the standard for leave to amend, and

 (iii) casts baseless aspersions on FCA that (a) are completely unsupported by any

 well-pled factual allegations, and (b) do not change the fact that GM’s causation

 theory remains too indirect and contingent upon harm allegedly incurred by others?1




 1
        Plaintiffs General Motors LLC and General Motors Co. are referred to
 collectively as “GM”; Defendants FCA US LLC and Fiat Chrysler Automobiles
 N.V. are referred to collectively as “FCA.”


                                         -v-
Case 2:19-cv-13429-PDB-DRG ECF No. 90 filed 08/10/20      PageID.3238    Page 7 of 29




                     STATEMENT OF CONTROLLING
                  OR MOST APPROPRIATE AUTHORITIES

       The controlling or most appropriate authorities for the relief that FCA seeks

 include:

 1.    Fed. R. Civ. P. 59.

 2.    Energy Conversion Devices Liquidation Tr. v. Trina Solar Ltd., 833 F.3d 680
       (6th Cir. 2016).

 3.    Leisure Caviar, LLC v. U.S. Fish & Wildlife Serv., 616 F.3d 612 (6th Cir.
       2010).

 4.    Letvin v. Lew, 2014 WL 3865007 (E.D. Mich. Aug. 6, 2014) (Borman, J.).

 5.    Mich. Flyer LLC v. Wayne Cty. Airport Auth., 860 F.3d 425 (6th Cir. 2017).




                                        -vi-
Case 2:19-cv-13429-PDB-DRG ECF No. 90 filed 08/10/20        PageID.3239    Page 8 of 29




                         PRELIMINARY STATEMENT

       GM’s motion to set aside and vacate the Court’s judgment dismissing GM’s

 claims, or to amend that judgment to convert the dismissal of GM’s Complaint to be

 “without prejudice,” and thereby permit GM to file its proposed Amended

 Complaint, is meritless and should be denied. GM must know that the prospect of

 the Court changing its mind on the crucial issue of RICO causation is slim to none,

 so this motion is apparently a vehicle for GM to make more defamatory and baseless

 accusations about a competitor that is winning in the marketplace.

       GM’s proposed Amended Complaint reads like a script from a third-rate spy

 movie, full of preposterous allegations that FCA paid not one, but two, “mole[s]” to

 “infiltrate[] GM” and “funnel[] inside information to [FCA]” using money “stashed”

 in a “broad network” of “secret overseas [bank] accounts.” (Motion 2, 5, 7-8, 20-

 21.) None of that is true. That GM has extended its attacks to individual FCA

 officers and employees, making wild allegations against them without a shred of

 factual support, is despicable.    (E.g., proposed Amended Complaint (“AC”)

 ¶¶ 101(c), 101(d), 101(e).)

       In addition to concocting an unfounded tale of “corporate espionage” that

 would make John Le Carré cringe (Motion 21), GM (i) improperly seeks to reargue

 the standard for “direct causation” under RICO, (ii) misrepresents the legal standard

 governing leave to amend after judgment has been entered, and (iii) accuses the
Case 2:19-cv-13429-PDB-DRG ECF No. 90 filed 08/10/20        PageID.3240    Page 9 of 29



 Court of committing “manifest error” by dismissing the Complaint without granting

 GM leave to amend, even though GM spent two years drafting its original complaint

 and did not previously request leave to amend. GM is wrong in every respect.

       This motion is the latest example of the lengths to which GM is prepared to

 go in attacking FCA, accusing the Court of misconduct along the way. GM’s

 fictional account of “corporate espionage” is based entirely on two unremarkable

 allegations:

    1. FCA—a Dutch corporation headquartered in the United Kingdom, with
       subsidiaries that operate facilities in Italy and more than 40 other countries,
       and sales to customers in more than 130 countries—maintains “foreign bank
       accounts” in “countries such as Switzerland, Luxembourg, Liechtenstein,
       Italy, Singapore, the Cayman Islands, and others.” (Motion 5.) That is
       unremarkable, and certainly not illegal.

    2. Certain individuals—such as Alphons Iacobelli (who GM hired without
       asking FCA for a reference after his employment was summarily terminated
       by FCA) and Joseph Ashton (a former UAW official who served on GM’s
       Board of Directors and has no connection to FCA)—also held or controlled
       bank accounts in some of those same countries. (AC ¶¶ 35, 43.) Even if true,
       there is nothing illegal about that either.

       Based solely on the “existence of [these] foreign bank accounts” (Karis Decl.

 ¶ 10), GM leaps to the bold conclusion, which it pleads solely on “information and

 belief,” that Iacobelli and Ashton were “mole[s]” paid by FCA through “secret

 overseas [bank] accounts” to “infiltrate[] GM,” “funnel[] inside information to

 [FCA],” and ensure that benefits and concessions provided to FCA by the UAW

 were not also provided to GM. (Motion 2, 5, 7-8, 20-21.) No facts alleged in the



                                         -2-
Case 2:19-cv-13429-PDB-DRG ECF No. 90 filed 08/10/20        PageID.3241    Page 10 of 29



  proposed Amended Complaint—not a single one—support this outrageously

  speculative accusation.

        Confirming that GM is engaged in a smear campaign, and that its principal

  goal is to sully the reputations of FCA and the individual FCA officers and

  employees it has chosen to attack, GM includes in its proposed Amended Complaint

  allegations concerning “a variety” of other supposed “scandals in organizations

  controlled or connected to FCA NV.” (AC ¶¶ 185-94.) These allegations have

  nothing whatsoever to do with the FCA officers and employees whose reputations

  GM has wrongly impugned. Moreover, the allegations have no connection to GM’s

  claims in this case, and thus they can do nothing to correct GM’s failure to meet the

  proximate cause requirement of RICO.2

        GM’s motion to alter or amend the judgment should be denied for the

  following reasons:

        First, the Court should deny GM’s motion to alter or amend the judgment

  because there is no reason for the Court to reconsider its decision that RICO


  2
        GM insinuates that, because FCA has been accused of engaging in certain
  misconduct in the past, the Court should embrace GM’s speculative “corporate
  espionage” theory. But on that “logic,” the fact that GM frequently has been accused
  of making misrepresentations to consumers, e.g., Carriuolo v. Gen. Motors Co., 823
  F.3d 977, 981 (11th Cir. 2016), including concealing an ignition switch defect linked
  to more than 120 fatalities (see CNN, Death toll for GM ignition switch: 124 (Dec.
  10, 2015), https://tinyurl.com/yxcnyx75), is reason to conclude that GM’s proposed
  Amended Complaint is replete with such misrepresentations.


                                           -3-
Case 2:19-cv-13429-PDB-DRG ECF No. 90 filed 08/10/20       PageID.3242    Page 11 of 29



  plaintiffs—especially economic competitors—must satisfy a strict proximate cause

  requirement. GM merely “regurgitate[s] the same arguments and case law set forth

  in [its] previous response to [FCA’s] motions to dismiss.” Letvin v. Lew, 2014 WL

  3865007, at *1 (E.D. Mich. Aug. 6, 2014) (Borman, J.). As GM and its experienced

  counsel must know, “[a] motion under Rule 59(e) is not an opportunity to re-argue

  a case.” Mich. Flyer LLC v. Wayne Cty. Airport Auth., 860 F.3d 425, 431 (6th

  Cir. 2017).

        Second, GM misrepresents the standard for leave to amend, contending that

  “leave to amend should have been freely granted” under the “liberal amendment

  policy” of Federal Rule of Civil Procedure 15. (Motion v (“Statement of Issues”),

  13.) But the Sixth Circuit has squarely held that Rule 15 and its liberal amendment

  policy do not apply when a plaintiff seeks leave to amend after a judgment has been

  entered against it, which is what is happening here. “A party seeking leave to amend

  after an adverse judgment faces a heavier burden than for a Rule 15 leave to amend

  motion prior to a final ruling.” Mich. Flyer, 860 F.3d at 431. This makes eminent

  sense: “If a permissive amendment policy applied after adverse judgments, plaintiffs

  could use the court as a sounding board to discover holes in their arguments, then

  ‘reopen the case by amending their complaint to take account of the court’s

  decision.’” Leisure Caviar, LLC v. U.S. Fish & Wildlife Serv., 616 F.3d 612, 616

  (6th Cir. 2010). Thus, while GM wrongly boasts that its proposed Amended



                                          -4-
Case 2:19-cv-13429-PDB-DRG ECF No. 90 filed 08/10/20       PageID.3243    Page 12 of 29



  Complaint “addresses every concern the Court raised in its Order granting

  Defendants’ motions to dismiss” (Motion 16), GM was “not entitled to an advisory

  opinion from the Court informing [it] of the deficiencies of the complaint and then

  an opportunity to cure those deficiencies.” Winget v. JP Morgan Chase Bank, N.A.,

  537 F.3d 565, 573 (6th Cir. 2008).

        Third, GM fails to meet its burden of showing that its so-called “newly

  discovered evidence” “clearly would have produced a different result if presented

  before the original judgment.” Davis v. Prof’l Reps. Org., 666 F. App’x 433, 440

  (6th Cir. 2016). The only new purported “facts” that GM alleges are the “existence

  of foreign bank accounts by various individuals previously and currently employed

  by FCA and former UAW Presidents.” (Karis Decl. ¶ 10.) There is not one well-

  pled allegation in the proposed Amended Complaint that these foreign bank accounts

  were used to pay bribes or facilitate any other illegal conduct. Instead, GM merely

  asserts, on “information and belief,” that the existence of foreign accounts must

  mean that Iacobelli and Ashton were “moles” who infiltrated GM, passed

  unspecified inside information about GM to FCA, and ensured that the alleged

  concessions provided to FCA by the UAW were not also provided to GM.

  (Motion 2, 5, 7-8, 20-21.)

        Such baseless speculation—plainly the product of a fevered imagination—is

  insufficient to state a claim. For one, GM’s unsupported allegations pled “upon



                                          -5-
Case 2:19-cv-13429-PDB-DRG ECF No. 90 filed 08/10/20        PageID.3244    Page 13 of 29



  information and belief” “are precisely the kinds of conclusory allegations that Iqbal

  and Twombly condemned and thus told [courts] to ignore when evaluating a

  complaint’s sufficiency.” 16630 Southfield Ltd. P’ship v. Flagstar Bank, F.S.B.,

  727 F.3d 502, 506 (6th Cir. 2013). For another, even if these new allegations were

  accepted as true, GM’s causation theory continues to be too indirect. (See infra 18-

  19.) And lastly, even if it were possible to conclude that the purpose of the alleged

  RICO scheme was to injure GM and no one else by imposing higher labor costs on

  GM (Motion 21), then the proposed Amended Complaint would fail to state a claim

  because “a single scheme targeting a single victim” does not plead “an actionable

  ‘pattern of racketeering activity.’” Bachi-Reffitt v. Reffitt, 802 F. App’x 913, 918

  (6th Cir. 2020).

                                    ARGUMENT

        A plaintiff “who seeks to amend a complaint after losing the case must provide

  a compelling explanation to the district court for granting the motion,” based on

  “(1) a clear error of law; (2) newly discovered evidence; (3) an intervening change

  in controlling law; or (4) a need to prevent manifest injustice.” Leisure Caviar, 616

  F.3d at 615, 617. In deciding whether to grant such a motion, a court must also

  “consider[] the competing interest of protecting the finality of judgments and the

  expeditious termination of litigation,” and “ought to pay particular attention to the




                                           -6-
Case 2:19-cv-13429-PDB-DRG ECF No. 90 filed 08/10/20         PageID.3245    Page 14 of 29



  movant’s explanation for failing to seek leave to amend prior to the entry of

  judgment.” Id. at 615-16 (internal quotation omitted).

        While GM seeks to convey the impression that it has a clear right to the relief

  requested in its motion, nothing could be further from the truth. This Court has

  “considerable discretion in deciding whether to grant Rule 59 motions,” Clark v.

  United States, 764 F.3d 653, 661 (6th Cir. 2014), and in exercising that discretion

  must “remain conscious that relief under Rule 59(e) is an ‘extraordinary remedy to

  be employed sparingly in the interests of finality and conservation of scarce judicial

  resources.’” Hernandez v. City of Saginaw, 2013 WL 4052632, at *2 (E.D. Mich.

  Aug. 12, 2013). GM utterly fails to show that it is entitled to such an “extraordinary

  remedy” here.

  I.    The Court should deny GM’s request for reconsideration of this Court’s
        correct application of RICO’s direct causation standard.
        GM is upset that this Court faithfully applied the strict standard for pleading

  “direct causation” under RICO, but that certainly is not a valid basis for altering or

  amending the judgment. GM’s request that the Court reconsider its legal holding,

  based on the very same arguments that GM made in its failed opposition to FCA’s

  motions to dismiss, should be denied for two independent reasons.




                                           -7-
Case 2:19-cv-13429-PDB-DRG ECF No. 90 filed 08/10/20         PageID.3246    Page 15 of 29




        A.     Rehashing previously rejected arguments is not grounds for
               altering or amending a judgment.

        GM merely “rehash[es] the same arguments this Court already rejected,”

  which is not grounds for altering or amending the judgment. Letvin, 2014 WL

  3865007, at *2. Indeed, GM’s entire argument is copied almost verbatim from its

  Opposition to FCA’s motions to dismiss, including:

      The Sixth Circuit in Wallace v. Midwest Financial & Mortgage Services, Inc.,
       714 F.3d 414 (6th Cir. 2013) held that “foreseeability” and “intentional[]”
       conduct are the only requirements for causation under RICO. (Compare
       Motion 4, 10-11 with Opp. 11-12, 16.)

      “[N]either Hemi nor Anza,” require a plaintiff to satisfy a “strict” direct
       causation requirement. (Compare Motion 4, 10-11 with Opp. 9, 11.)

      The Supreme Court held in Bridge v. Phoenix Bond & Indem. Co., 553 U.S.
       639 (2008) that “[p]roximate cause” under RICO “is a flexible concept.”
       (Compare Motion 10 with Opp. 8.)

      GM’s alleged injuries are “distinct” from those of other more directly injured
       parties. (Compare Motion 12 with Opp. 13, 18, 20.)

      GM’s causation theory is “[u]nlike” the one rejected in Anza v. Ideal Steel
       Supply Corp., 547 U.S. 451 (2006), and more akin to the one in Empress
       Casino Joliet Corp. v. Johnston, 763 F.3d. 723, 733 (7th Cir. 2014).
       (Compare Motion 4, 12 with Opp. 13, 17-18.)

        This effort by GM to get another bite at the apple is plainly improper.

  “Rule 59(e) does not exist to provide an unhappy litigant an opportunity to relitigate

  issues the court has already considered and rejected.” Jones v. Nat. Essentials, Inc.,

  740 F. App’x 489, 495 (6th Cir. 2018); see Raub v. Moon Lake Prop. Owners’ Ass’n,




                                           -8-
Case 2:19-cv-13429-PDB-DRG ECF No. 90 filed 08/10/20         PageID.3247    Page 16 of 29



  2018 WL 10127704, at *1 (E.D. Mich. Jan. 3, 2018) (“Plaintiffs may not use rule

  59(e) to re-assert arguments previously rejected by the Court.”).

           B.    This Court correctly applied the standard for pleading causation
                 under RICO.

           GM’s motion for reconsideration should be denied because there is no mistake

  to be remedied: in dismissing GM’s Complaint, the Court correctly applied the

  standard for pleading causation under RICO.

           GM first faults the Court for describing proximate cause under RICO as a

  “strict standard.” (Motion 2, 4.) But that statement is unquestionably correct. “The

  requirements of RICO causation are stricter than those for common-law torts.”

  Empire Merchs., LLC v. Reliable Churchill LLLP, 902 F.3d 132, 145 (2d Cir. 2018)

  (emphasis added; quotation omitted). Moreover, the Supreme Court has directed

  district courts to be skeptical of RICO “claims brought by economic competitors,

  which, if left unchecked, could blur the line between RICO and the antitrust laws.”

  Anza, 547 U.S. at 460; see Empire Merchs., 902 F.3d at 144 (same). Such skepticism

  demands strict enforcement of the requirements of RICO, including proximate

  cause.

           Next, and in a similar vein, GM accuses the Court of inventing an “unduly

  strict proximate cause standard that is inconsistent with governing Supreme Court

  and Sixth Circuit precedent.” (Motion 4, 10.) In particular, GM argues that the Sixth

  Circuit in Wallace “rejected the notion” of a “directness” requirement (Motion 10),


                                            -9-
Case 2:19-cv-13429-PDB-DRG ECF No. 90 filed 08/10/20          PageID.3248    Page 17 of 29



  and held instead that “a scheme that intentionally and purposefully targets another

  for harm causes injury that is both foreseeable and sufficient to show proximate

  cause.” (Motion 10-11.) These arguments are nothing new, and GM is wrong on

  both scores, as this Court already has found. See Gen. Motors LLC v. FCA US LLC,

  2020 WL 3833058, at *8 (E.D. Mich. July 8, 2020).

        First, the Sixth Circuit in Wallace did not “reject[]” the Supreme Court’s

  “directness” requirement, nor could it do so. (Motion 10.) As an initial matter,

  Wallace did not address the precise causation issue here, which was also the focus

  in Hemi Grp., LLC v. City of N.Y., 559 U.S. 1 (2010), and Anza—namely, whether

  someone other than the RICO plaintiff was more directly injured by the defendant’s

  alleged conduct. Instead, the question in Wallace was whether a fraudulently

  “inflated appraisal” of plaintiff’s home procured by defendants “‘led directly’ to

  [plaintiff’s] decision” to enter into a “high-cost, adjustable-rate mortgage,” which

  was the cause of plaintiff’s financial ruin and bankruptcy. 714 F.3d at 416, 420. For

  this reason, the Wallace panel had no need to engage with the Supreme Court’s

  precedents relating to plaintiffs that suffered only indirect injury. In any event, the

  Supreme Court could not have been clearer in Hemi that, “in the RICO context, the

  focus is on the directness of the relationship between the conduct and the harm,” and

  that persons who claim to have incurred harm “beyond the first step” in the causal

  chain cannot assert a RICO claim. Hemi, 559 U.S. at 10, 12. Even though Wallace



                                           -10-
Case 2:19-cv-13429-PDB-DRG ECF No. 90 filed 08/10/20           PageID.3249     Page 18 of 29



  “post-date[s]” Hemi (Motion 4), the Sixth Circuit does not have the power to

  overrule the Supreme Court.

        Second, and for similar reasons, Wallace did not hold that “a scheme that

  intentionally and purposefully targets another for harm causes injury that is both

  foreseeable and sufficient to show proximate cause.” (Motion 10-11.) The Supreme

  Court expressly rejected the argument that “RICO’s proximate cause requirement

  turn[s] on foreseeability,” as argued by the Hemi dissenters. Hemi, 559 U.S. at 12.

        Likewise, long before Wallace, the Sixth Circuit “rejected the argument that

  the intentional nature of plaintiffs’ claims alters the remoteness inquiry,” holding

  that “specific intent to harm does not magically create standing or cause . . . injuries

  to be direct.” Perry v. Am. Tobacco Co., 324 F.3d 845, 850 (6th Cir. 2003). The

  Sixth Circuit held again seven years later that an allegation that “Defendants

  intentionally caused the alleged course of events . . . is not relevant to our directness

  requirement analysis” under RICO. City of Cleveland v. Ameriquest Mortg. Sec.,

  Inc., 615 F.3d 496, 502-03 (6th Cir. 2010). Thus, even if Wallace purported to alter

  the Sixth Circuit’s standard for pleading direct causation under RICO sub silentio (it

  did not), the Wallace panel had no power to do so, because “[a] panel of [the Sixth

  Circuit] cannot overrule the decision of another panel.” United States v. Burris, 912

  F.3d 386, 406 (6th Cir. 2019) (en banc).




                                            -11-
Case 2:19-cv-13429-PDB-DRG ECF No. 90 filed 08/10/20        PageID.3250    Page 19 of 29



        In sum, there is no merit to GM’s claim that it has met RICO’s proximate

  cause requirement by alleging that FCA intended to cause indirect harm to GM. As

  explained further below in Section III, because GM’s supposedly “new” evidence

  purports to show only that FCA’s conduct was “intentionally designed to . . . harm

  GM,” that evidence is irrelevant to the proximate cause analysis and does not make

  GM’s alleged injury any less indirect. (Motion 5.)

  II.   GM was not entitled to an advisory opinion from this Court as to how to
        overcome the numerous deficiencies in its Complaint.
        GM asserts that this Court committed “manifest error” by failing to anticipate

  that GM might want “an opportunity to rectify the[] perceived deficiency in its

  pleadings,” and that the Court should now grant GM leave to amend pursuant to

  “Rule 15(a)’s liberal [amendment] policy.” (Opp. 2, 4-5, 15.) Both assertions are

  wrong. GM—which is not some pro se litigant, but a major corporation represented

  by experienced counsel—was “not entitled to a directive from the district court

  ‘informing [it] of the deficiencies of the complaint and then an opportunity to cure

  those deficiencies.’” Graham v. Fearon, 721 F. App’x 429, 439 (6th Cir. 2018).

        As an initial matter, this Court did not “commit[] manifest error by dismissing

  GM’s claims with prejudice and denying GM the opportunity to file an amended

  complaint to address the Court’s concerns.” (Motion 2 (emphasis in original).) GM

  omits the crucial point that it never asked the Court for leave to amend—not when

  it opposed FCA’s motions to dismiss and not at oral argument. Where, as here, a


                                          -12-
Case 2:19-cv-13429-PDB-DRG ECF No. 90 filed 08/10/20           PageID.3251     Page 20 of 29



  “Plaintiff never filed a proper motion to amend [its] complaint” before judgment is

  entered against it, a “district court d[oes] not abuse its discretion . . . by failing to

  rule on a motion that was never before it.” Bunn v. Navistar, Inc., 797 F. App’x 247,

  257 (6th Cir. 2020). Consequently, GM’s “argument that the district court should

  have rescued Plaintiffs by sua sponte offering leave to amend the complaint is

  simply misplaced.” Total Benefits Planning Agency, Inc. v. Anthem Blue Cross &

  Blue Shield, 552 F.3d 430, 438 (6th Cir. 2008).

        More fundamentally, contrary to GM’s assertion, leave to amend should not

  be “freely” granted after a judgment has been entered against a plaintiff.

  (Motion 13.) The Sixth Circuit “has been abundantly clear that, once judgment

  issues, concerns about finality dilute the otherwise permissive amendment policy of

  the Civil Rules.” Energy Conversion Devices Liquidation Tr. v. Trina Solar Ltd.,

  833 F.3d 680, 692 (6th Cir. 2016). GM never even mentions the Sixth Circuit’s

  “heav[y] burden” standard that applies in the post-judgment context. Mich. Flyer,

  860 F.3d at 431.

        Nor are the facts here anything like those in Bledsoe v. Community Health

  Systems, Inc., 342 F.3d 634 (6th Cir. 2003) (Motion 14), which “concerned a

  situation where the plaintiff included all of the relevant elements in his complaint

  but lacked notice of a heightened pleading standard until the moment the district

  court dismissed the complaint.” Energy Conversion, 833 F.3d at 692 (discussing



                                            -13-
Case 2:19-cv-13429-PDB-DRG ECF No. 90 filed 08/10/20           PageID.3252   Page 21 of 29



  Bledsoe). Here by contrast, RICO’s direct causation standard was not “unclear or

  debatable.” (Motion 14.) Anza was decided in 2006 and Hemi has been on the books

  for a decade. Moreover, as in Energy Conversion, “[e]ven after [FCA] moved to

  dismiss the complaint largely based on [GM’s] failure to plead [direct causation as

  required by Hemi and Anza], [GM] did not amend the complaint,” but instead sought

  leave to amend “[o]nly after the district court rejected [GM’s] argument and

  dismissed the case under Rule 12(b)(6).” 833 F.3d at 691. Thus, the unique facts at

  issue in Bledsoe are “not remotely this case.” Id. at 692.

  III.   GM’s alleged “new evidence” is wild conjecture and does nothing to cure
         the deficiencies the Court identified in dismissing the Complaint.

         GM asserts that it “should plainly be given leave to file its proposed

  [Amended Complaint] in light of GM’s newly discovered and alleged evidence

  confirming GM’s status as an intended and direct victim of Defendants’ unlawful

  scheme.” (Motion 15-16.) Not only is GM’s “newly discovered evidence” the kind

  of baseless speculation that courts should, and routinely do, ignore, but GM fails to

  demonstrate that such evidence “clearly would have produced a different result if

  presented before the original judgment.” Davis, 666 F. App’x at 440.

         A.    GM’s “new evidence” is nothing but conclusory speculation.

         As explained above at pp. 1-3, GM’s allegations of “corporate espionage” are

  not supported by a single well-pled factual allegation, let alone pled “with sufficient

  particularity under Rule 9(b)” as required when alleging predicate acts of “money


                                           -14-
Case 2:19-cv-13429-PDB-DRG ECF No. 90 filed 08/10/20          PageID.3253     Page 22 of 29



  laundering.” Arnold v. Alphatec Spine, Inc., 2014 WL 2896838, at *13 (S.D. Ohio

  June 26, 2014). GM merely contends that it retained unspecified “third parties” with

  unspecified “credentials” who discovered unspecified “reliable information” about

  the existence of foreign bank accounts. (Karis Decl. ¶ 8.) But GM does not deign

  to identify these third parties, state their credentials, or provide any basis to assess

  whether the unspecified “information” they allegedly learned is in fact “reliable.”

  For all anyone knows, “[p]erhaps these [unidentified] sources have axes to grind.

  Perhaps they are lying. Perhaps they don’t even exist.” Higginbotham v. Baxter

  Int’l, Inc., 495 F.3d 753, 757 (7th Cir. 2007) (Easterbrook, J.).

        Nor does anything in GM’s proposed Amended Complaint support GM’s

  zany allegations that “Ashton and Iacobelli infiltrated GM” to (i) “gather and funnel

  highly confidential information to the FCA Defendants and their co-conspirators at

  the UAW” (Motion 20), or (ii) “ensure that Ashton imposed higher costs on GM,

  rather than the same benefits it provided to FCA.” (AC ¶ 88.)3 Instead, this

  purported grand conspiracy rests solely on the unremarkable alleged fact that FCA—

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         Notably, when GM appointed Ashton to its Board of Directors in 2014, it had
  nothing but praise for him, stating in a press release that “Joe brings a wealth of
  knowledge from his work across many industries, especially his deep understanding
  of how labor strategy can contribute to a company’s success.” (GM Press Release,
  GM Nominates UAW VP Joe Ashton to Board of Directors (Apr. 25, 2014),
  https://tinyurl.com/y2l2aazh.) Moreover, Ashton retired from the UAW when he
  joined the GM Board (id.), and GM provides no explanation of how Ashton could
  influence—much less control—the UAW’s bargaining positions when he no longer
  was an officer of the union.


                                           -15-
Case 2:19-cv-13429-PDB-DRG ECF No. 90 filed 08/10/20          PageID.3254     Page 23 of 29



  which operates through subsidiaries in more than 130 countries around the world—

  had foreign bank accounts in some of the same countries as Iacobelli and Ashton.

  (See supra at 2.) Even if true, that coincidence is insufficient to state a claim.

        Indeed, GM’s theory is remarkably similar to allegations the Sixth Circuit

  squarely rejected in 16630 Southfield. There, plaintiff sued a bank contending that

  denial of his application to refinance a loan was discriminatory based on his Iraqi

  origin. But the Complaint “allege[d] facts that are merely consistent with liability

  (i.e., being Iraqi and being denied a loan extension) as opposed to facts that

  demonstrate discriminatory intent.” 727 F.3d at 505. The inference that GM asks

  the Court to draw—namely, that the existence of foreign bank accounts means those

  accounts must have been used to facilitate “corporate espionage”—is even less

  plausible. Although GM has been forced to retrench from loss-making businesses

  in various jurisdictions, it is a virtual certainty that GM still has foreign bank

  accounts, but that hardly is a basis to accuse GM of engaging in money laundering.4

        The plaintiff in 16630 Southfield attempted to bolster his claim with

  speculation, “alleging ‘upon information and belief’ that [the bank] has refinanced

  delinquent borrowers who ‘were Caucasian’ or ‘not . . . members of minority

  4
         According to GM’s public filings with the U.S. Securities & Exchange
  Commission, as of December 31, 2019, GM operates through subsidiaries in 35
  countries. (See GM Form 10-K, Exhibit 21, https://tinyurl.com/y477tv4u). And GM
  has subsidiaries (and presumably bank accounts) in many of the countries it contends
  are hotbeds for money laundering, including Switzerland, Italy, and Singapore. (Id.)


                                           -16-
Case 2:19-cv-13429-PDB-DRG ECF No. 90 filed 08/10/20         PageID.3255     Page 24 of 29



  groups.’” Id. at 506. GM similarly speculates “on information and belief” that FCA

  used foreign bank accounts to “secretly” provide money to Iacobelli, Ashton, and

  others “in exchange for intentionally infiltrating GM, both to impose asymmetrical

  costs on GM through the 2015 collective bargaining agreement and to pressure GM

  to merge with FCA NV.” (Motion 6-8.) But “[t]hese ‘naked assertions devoid of

  further factual enhancement’ contribute nothing to the sufficiency of the complaint,”

  and thus must be “ignore[d] when evaluating a complaint’s sufficiency.” 16630

  Southfield, 727 F.3d at 506. Even if one accepted GM’s strained theory that the

  existence of foreign bank accounts alone supports a conclusion that those accounts

  were used to facilitate bribes or engage in money laundering, the proposed Amended

  Complaint contains zero factual allegations as to what information Ashton and

  Iacobelli supposedly passed on to FCA, who at FCA received that information, or

  how the information supposedly “directly harmed GM” in negotiation of the 2015

  collective bargaining agreement. (Motion 21.) Indeed, it is impossible that Iacobelli

  sabotaged negotiation of that agreement from within GM because, as GM itself

  confirms, it did not “hire[] Iacobelli to work in its labor relations department” until

  “January 2016.” (AC ¶ 182 (emphasis added).)

        All GM has is the ex cathedra pronouncement that foreign bank accounts must

  have existed for the sole purpose of enabling FCA to orchestrate a nefarious plot to

  injure GM. Again, “conclusory allegations, unsupported by facts, are not sufficient



                                           -17-
Case 2:19-cv-13429-PDB-DRG ECF No. 90 filed 08/10/20          PageID.3256    Page 25 of 29



  to survive a 12(b)(6) motion.” Stuart v. Lowe’s Home Centers, LLC, 737 F. App’x

  278, 282 (6th Cir. 2018). This is particularly true in the RICO context, where courts

  should “not allow RICO plaintiffs leeway to continue on with their case in an attempt

  to prove an entirely remote causal link.” Empire Merchs., 902 F.3d at 144.

        B.     GM’s “new evidence,” even if considered, would not “clearly”
               lead to a “different result.”

        GM’s proposed Amended Complaint still fails to state a valid RICO claim for

  numerous independent reasons—even if GM’s speculative and conclusory new

  allegations could be considered. As a result, GM’s “newly discovered evidence”

  would not lead to a “different result.” Davis, 666 F. App’x at 440.

        First, GM contends that “the newly discovered evidence confirms that GM

  was the target of Defendants’ scheme.” (Motion 20.) But as explained above,

  “specific intent to harm does not magically create standing or cause . . . injuries to

  be direct.” Perry, 324 F.3d at 850. It is similarly irrelevant that GM says its “newly

  discovered evidence” shows that its alleged “injuries were distinct” from those

  incurred by rank-and-file FCA employees or the IRS. (Motion 12, 20.) The notion

  that a plaintiff suffered a “unique” or “distinct” injury has no bearing on whether the

  alleged injury “was directly caused by the defendants’ racketeering.”          Empire

  Merchs., 902 F.3d at 145-46.




                                           -18-
Case 2:19-cv-13429-PDB-DRG ECF No. 90 filed 08/10/20          PageID.3257     Page 26 of 29



        Second, GM’s causation theories remain incompatible with the three Holmes

  factors,5 including because plaintiffs alleging more direct injury than GM have

  already sued (including rank-and-file members of the UAW and the U.S.

  Department of Justice on behalf of the IRS), and GM’s claim that its labor costs were

  increased by virtue of the conduct alleged in the proposed Amended Complaint will

  lead to precisely the kind of “intricate, uncertain inquiries” that should not be

  permitted to “overrun[]” the litigation. Anza, 547 U.S. at 460.

        Third, according to GM’s new theory, FCA’s alleged conduct “harmed GM—

  not FCA’s workers or anyone else—through FCA’s orchestration of the scheme

  from within through a [GM] Board member and high-ranking labor relations

  executive.” (Motion 21; see AC ¶ 4 (alleging that “only GM incurred” harm from

  FCA’s alleged conduct).) GM has missed the boomerang effect of that contention.

  If the singular purpose of FCA’s alleged actions was to harm GM and no one else,

  as GM now contends, then the proposed Amended Complaint would need to be

  dismissed because “a single scheme targeting a single victim” does not plead “an

  actionable ‘pattern of racketeering activity.’” Bachi-Reffitt, 802 F. App’x at 918;




  5
        These factors include (i) whether there are more immediate victims with
  incentive to sue, (ii) whether it is difficult to quantify the amount of the plaintiff’s
  alleged damages, and (iii) whether there is a potential risk of multiple recoveries.
  Holmes v. Sec. Inv’r Prot. Corp., 503 U.S. 258, 269 (1992); see GM, 2020 WL
  3833058, at *8 (discussing Holmes factors).


                                           -19-
Case 2:19-cv-13429-PDB-DRG ECF No. 90 filed 08/10/20         PageID.3258    Page 27 of 29



  see Vemco, Inc. v. Camardella, 23 F.3d 129, 135 (6th Cir. 1994) (no RICO liability

  where there was a “single victim and a single scheme for a single purpose”).

                                     *      *      *

         As is evident from even a casual review, GM’s motion is not a serious legal

  document filed in good faith. The evident purpose of GM’s motion is to tarnish the

  reputations of FCA and certain of its officers and employees—an inexcusable

  litigation tactic.

         It is well-known that RICO claims have “damaging effects on the reputations

  of individuals alleged to be engaged in RICO enterprises and conspiracies.” Wood

  v. Gen. Motors Corp., 2015 WL 1396437, at *4 (E.D.N.Y. Mar. 25, 2015). For this

  reason, the Sixth Circuit recently instructed district courts “[t]o deter” the “strong

  temptation for plaintiffs to raise a RICO claim, even when the claim is obviously

  frivolous,” by not “hesitat[ing] to impose Rule 11 sanctions as a sanction for

  bringing frivolous RICO claims.” Bachi-Reffitt, 802 F. App’x at 919.




                                          -20-
Case 2:19-cv-13429-PDB-DRG ECF No. 90 filed 08/10/20   PageID.3259   Page 28 of 29




                                CONCLUSION

       For the foregoing reasons, the Court should deny GM’s motion to alter or

  amend the judgment.

  August 10, 2020                       Respectfully submitted,

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                                      -21-
Case 2:19-cv-13429-PDB-DRG ECF No. 90 filed 08/10/20            PageID.3260     Page 29 of 29




                             CERTIFICATE OF SERVICE

        I hereby certify that on August 10, 2020, I electronically filed the foregoing

  paper with the Clerk of the Court using the ECF system which will send notification

  of such filing to all parties of record, and I hereby certify that I have mailed by United

  States Postal Service the paper to the following non-ECF participants: None.

                                           Respectfully submitted,

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   August 10, 2020




                                            -22-
